              Case 22-18808-JNP                   Doc 1     Filed 11/06/22 Entered 11/06/22 14:29:31                               Desc Main
                                                            Document     Page 1 of 37

Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF NEW JERSEY

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                A-One Waste Solutions d/b/a A-One Hauling

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  771 Watsontown Road                                             2 Callison Lane
                                  Berlin, NJ 08009                                                Voorhees, NJ 08043
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Camden                                                          Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
              Case 22-18808-JNP                     Doc 1        Filed 11/06/22 Entered 11/06/22 14:29:31                                      Desc Main
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Debtor    A-One Waste Solutions d/b/a A-One Hauling                                                     Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
     A debtor who is a “small             Chapter 9
     business debtor” must check
                                          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                     The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                      noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                   $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                              operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                                exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                  The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                  debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                  proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                  When                                  Case number
                                                 District                                  When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 2
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Debtor    A-One Waste Solutions d/b/a A-One Hauling                                                       Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor      A-One Leasing d/b/a A-One Contracting                         Relationship               afflilate

                                                     District    New Jersey                   When      11/06/22               Case number, if known      22-18807


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.

                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion



Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor   A-One Waste Solutions d/b/a A-One Hauling                                   Case number (if known)
         Name


16. Estimated liabilities     $0 - $50,000                               $1,000,001 - $10 million             $500,000,001 - $1 billion
                              $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                              $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                              $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
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Debtor    A-One Waste Solutions d/b/a A-One Hauling                                                Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      November 6, 2022
                                                  MM / DD / YYYY


                             X   /s/ Nicolette Burns                                                      Nicolette Burns
                                 Signature of authorized representative of debtor                         Printed name

                                 Title




18. Signature of attorney    X   /s/ Ellen M. McDowell, Esq.                                               Date November 6, 2022
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Ellen M. McDowell, Esq.
                                 Printed name

                                 McDowell Law, PC
                                 Firm name

                                 46 West Main St.
                                 Maple Shade, NJ 08052
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     856-482-5544                  Email address      emcdowell@mcdowelllegal.com

                                  NJ
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
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Fill in this information to identify the case:

Debtor name         A-One Waste Solutions d/b/a A-One Hauling

United States Bankruptcy Court for the:     DISTRICT OF NEW JERSEY

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       November 6, 2022                X /s/ Nicolette Burns
                                                           Signature of individual signing on behalf of debtor

                                                            Nicolette Burns
                                                            Printed name


                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
           Case 22-18808-JNP                                    Doc 1             Filed 11/06/22 Entered 11/06/22 14:29:31                                                           Desc Main
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Fill in this information to identify the case:

Debtor name           A-One Waste Solutions d/b/a A-One Hauling

United States Bankruptcy Court for the:                      DISTRICT OF NEW JERSEY

Case number (if known)
                                                                                                                                                                                     Check if this is an
                                                                                                                                                                                     amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                12/15

Part 1:     Summary of Assets


1.   Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

     1a. Real property:
         Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

     1b. Total personal property:
         Copy line 91A from Schedule A/B.........................................................................................................................                     $              5,000.00

     1c. Total of all property:
         Copy line 92 from Schedule A/B...........................................................................................................................                    $              5,000.00


Part 2:     Summary of Liabilities


2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $              9,000.00


3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:
         Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

     3b. Total amount of claims of nonpriority amount of unsecured claims:
         Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$                200.00


4.   Total liabilities .......................................................................................................................................................
     Lines 2 + 3a + 3b                                                                                                                                                           $                9,200.00




Official Form 206Sum                                             Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
           Case 22-18808-JNP                  Doc 1       Filed 11/06/22 Entered 11/06/22 14:29:31                                    Desc Main
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Fill in this information to identify the case:

Debtor name         A-One Waste Solutions d/b/a A-One Hauling

United States Bankruptcy Court for the:     DISTRICT OF NEW JERSEY

Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                     12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                      debtor's interest

3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                           number
                   Fulton Bank - #'s 8239167; 8238209;
          3.1.     94088848; 8237803                                                                                                                        $0.00



4.        Other cash equivalents (Identify all)

5.        Total of Part 1.                                                                                                                           $0.00
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.

7.        Deposits, including security deposits and utility deposits
          Description, including name of holder of deposit

8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
          Description, including name of holder of prepayment


          8.1.     State of New Jersey snow plowing                                                                                                         $0.00




9.        Total of Part 2.                                                                                                                           $0.00
          Add lines 7 through 8. Copy the total to line 81.

Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                                        page 1
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Debtor       A-One Waste Solutions d/b/a A-One Hauling                                       Case number (If known)
             Name



Part 3:      Accounts receivable
10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes Fill in the information below.

11.       Accounts receivable
          11a. 90 days old or less:                           0.00      -                                   0.00 = ....                       $0.00
                                       face amount                             doubtful or uncollectible accounts




12.       Total of Part 3.                                                                                                                 $0.00
          Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:      Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.


Part 5:      Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.


Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.

          General description                                               Net book value of         Valuation method used   Current value of
                                                                            debtor's interest         for current value       debtor's interest
                                                                            (Where available)

39.       Office furniture

40.       Office fixtures

41.       Office equipment, including all computer equipment and
          communication systems equipment and software
          Office Equipment                                                                 $0.00                                         $5,000.00



42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
          books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
          collections; other collections, memorabilia, or collectibles




Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                         page 2
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Debtor        A-One Waste Solutions d/b/a A-One Hauling                                 Case number (If known)
              Name


43.        Total of Part 7.                                                                                                        $5,000.00
           Add lines 39 through 42. Copy the total to line 86.

44.        Is a depreciation schedule available for any of the property listed in Part 7?
              No
              Yes

45.        Has any of the property listed in Part 7 been appraised by a professional within the last year?
              No
              Yes

Part 8:       Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.

           General description                                        Net book value of         Valuation method used   Current value of
           Include year, make, model, and identification numbers      debtor's interest         for current value       debtor's interest
           (i.e., VIN, HIN, or N-number)                              (Where available)

47.        Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

           47.1.    various equipment                                                 $0.00                                             $0.00



48.        Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

49.        Aircraft and accessories


50.        Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)

51.        Total of Part 8.                                                                                                          $0.00
           Add lines 47 through 50. Copy the total to line 87.

52.        Is a depreciation schedule available for any of the property listed in Part 8?
              No
              Yes

53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
              No
              Yes

Part 9:       Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.


Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.




Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                    page 3
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Debtor       A-One Waste Solutions d/b/a A-One Hauling                                     Case number (If known)
             Name

Part 11:     All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.




Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                            page 4
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Debtor          A-One Waste Solutions d/b/a A-One Hauling                                                           Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                                     $0.00

81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                            $5,000.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                                $5,000.00         + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                    $5,000.00




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                       page 5
           Case 22-18808-JNP                        Doc 1         Filed 11/06/22 Entered 11/06/22 14:29:31                                 Desc Main
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Fill in this information to identify the case:

Debtor name         A-One Waste Solutions d/b/a A-One Hauling

United States Bankruptcy Court for the:           DISTRICT OF NEW JERSEY

Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                  12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
Part 1:     List Creditors Who Have Secured Claims
                                                                                                                 Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                              Amount of claim             Value of collateral
                                                                                                                                             that supports this
                                                                                                                 Do not deduct the value     claim
                                                                                                                 of collateral.
2.1   Ally Financial                               Describe debtor's property that is subject to a lien                     Unknown                       $0.00
      Creditor's Name
      Attn: Bankruptcy
      PO Box 130424
      Roseville, MN 55113-0004
      Creditor's mailing address                   Describe the lien

                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
          No                                          Contingent
          Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative        Disputed
      priority.



2.2   VFSCO                                        Describe debtor's property that is subject to a lien                     $9,000.00                     $0.00
      Creditor's Name                              Contracts
      7025 Albert Pick Road,
      Suite 105
      Greensboro, NC 27409
      Creditor's mailing address                   Describe the lien

                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      d006
      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply



Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 2
          Case 22-18808-JNP                      Doc 1        Filed 11/06/22 Entered 11/06/22 14:29:31                                    Desc Main
                                                             Document      Page 14 of 37
Debtor      A-One Waste Solutions d/b/a A-One Hauling                                          Case number (if known)
            Name

          No                                      Contingent
          Yes. Specify each creditor,             Unliquidated
      including this creditor and its relative    Disputed
      priority.



3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.             $9,000.00

Part 2:   List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity




Official Form 206D                  Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 2 of 2
            Case 22-18808-JNP                       Doc 1       Filed 11/06/22 Entered 11/06/22 14:29:31                                         Desc Main
                                                               Document      Page 15 of 37
Fill in this information to identify the case:

Debtor name        A-One Waste Solutions d/b/a A-One Hauling

United States Bankruptcy Court for the:         DISTRICT OF NEW JERSEY

Case number (if known)
                                                                                                                                                 Check if this is an
                                                                                                                                                 amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                 12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.

      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                   Total claim           Priority amount

2.1       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                              Unknown           Unknown
          Internal Revenue Service                             Check all that apply.
          Centralized Insolvency Operation                        Contingent
          PO Box 7346                                             Unliquidated
          Philadelphia, PA 19101                                  Disputed

          Date or dates debt was incurred                      Basis for the claim:


          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes


2.2       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                              Unknown           Unknown
          State of New Jersey                                  Check all that apply.
          PO Box 245                                              Contingent
          Trenton, NJ 08695                                       Unliquidated
                                                                  Disputed

          Date or dates debt was incurred                      Basis for the claim:


          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes



Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                       page 1 of 6
                                                                                                               48063
           Case 22-18808-JNP                  Doc 1         Filed 11/06/22 Entered 11/06/22 14:29:31                                     Desc Main
                                                           Document      Page 16 of 37
Debtor      A-One Waste Solutions d/b/a A-One Hauling                                       Case number (if known)
            Name

3.1      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         American Express                                             Contingent
                                                                      Unliquidated
         Date(s) debt was incurred                                    Disputed
         Last 4 digits of account number                           Basis for the claim:

                                                                   Is the claim subject to offset?     No       Yes

3.2      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Atlantic Investigations, LLC                                 Contingent
         583 13th Street                                              Unliquidated
         Hammonton, NJ 08037                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.3      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Atlantic Utility Trailer Sales                               Contingent
         137 Crown Point Road                                         Unliquidated
         Thorofare, NJ 08086                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.4      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Bergey's Commercial Tire                                     Contingent
         7460 N. Crescent Blvd.                                       Unliquidated
         Pennsauken, NJ 08110                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Bowman Trailer Leasing                                       Contingent
         10233 Governor Lane Blvd.                                    Unliquidated
         Williamsport, MD 21795                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         CINTAS                                                       Contingent
                                                                      Unliquidated
         Date(s) debt was incurred                                    Disputed
         Last 4 digits of account number                           Basis for the claim:

                                                                   Is the claim subject to offset?     No       Yes

3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         CrownPoint d/b/a                                             Contingent
         Joe & Ron's Truck Stop                                       Unliquidated
         1740 Crown Point Road                                        Disputed
         West Deptford, NJ 08086
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 2 of 6
           Case 22-18808-JNP                  Doc 1         Filed 11/06/22 Entered 11/06/22 14:29:31                                     Desc Main
                                                           Document      Page 17 of 37
Debtor      A-One Waste Solutions d/b/a A-One Hauling                                       Case number (if known)
            Name

3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         DRPA
         One Port Cernter                                             Contingent
         2 Riverside Drive                                            Unliquidated
         P.O. Box 1949                                                Disputed
         Camden, NJ 08101
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         EZPass                                                       Contingent
         Violations Processing Center                                 Unliquidated
         P.O. Box 4971                                                Disputed
         Trenton, NJ 08650
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Fulton Bank Visa                                             Contingent
         201 North Route 73                                           Unliquidated
         West Berlin, NJ 08091                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Gabrielli Truck Leasing, LLC                                 Contingent
         880 S. Oyster Bay Road                                       Unliquidated
         Hicksville, NY 11801                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Graphics Arts Mutual Insurance Co                            Contingent
         c/o Morgan, Bornstein & Morgan                               Unliquidated
         1236 Brace Road, Suite K                                     Disputed
         Cherry Hill, NJ 08034
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Hale Trailer Brake & Wheel, Inc.                             Contingent
         551 Cooper Road                                              Unliquidated
         West Berlin, NJ 08091                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         IntelliShift                                                 Contingent
         152 Veterans Memorial Highway                                Unliquidated
         Commack, NY 11725                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 3 of 6
           Case 22-18808-JNP                  Doc 1         Filed 11/06/22 Entered 11/06/22 14:29:31                                     Desc Main
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Debtor      A-One Waste Solutions d/b/a A-One Hauling                                       Case number (if known)
            Name

3.15     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $100.00
         John Lattanzi c/o                                            Contingent
         Michael Dunn, Esquire                                        Unliquidated
         2 Executive Campus, #402
                                                                      Disputed
         Cherry Hill, NJ 08002
         Date(s) debt was incurred
                                                                   Basis for the claim:    Attorney for John Lattanzi
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.16     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Kubota Tractor Corp                                          Contingent
         55 Route 70                                                  Unliquidated
         Marlton, NJ 08053                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.17     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $100.00
         Mainor Erick Ordonez                                         Contingent
                                                                      Unliquidated
         Date(s) debt was incurred
                                                                      Disputed
         Last 4 digits of account number
                                                                   Basis for the claim:

                                                                   Is the claim subject to offset?     No       Yes

3.18     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Mark Cherry, CPA                                             Contingent
         385 Kings Highway North                                      Unliquidated
         Cherry Hill, NJ 08034                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.19     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         NETS Trailer Leasing                                         Contingent
         1810 River Road                                              Unliquidated
         Burlington, NJ 08016                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.20     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Port Kearny Security                                         Contingent
         61 Hackensack Avenue                                         Unliquidated
         Kearny, NJ 07032                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.21     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         REIT Lubricants                                              Contingent
         899 Mearns Road                                              Unliquidated
         Warminster, PA 18974                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 4 of 6
           Case 22-18808-JNP                   Doc 1         Filed 11/06/22 Entered 11/06/22 14:29:31                                     Desc Main
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Debtor       A-One Waste Solutions d/b/a A-One Hauling                                       Case number (if known)
             Name

3.22      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
          Safety Kleen                                                 Contingent
          123 Red Lion Road                                            Unliquidated
          Vincentown, NJ 08088                                         Disputed
          Date(s) debt was incurred
                                                                    Basis for the claim:
          Last 4 digits of account number
                                                                    Is the claim subject to offset?     No       Yes

3.23      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
          SBA Covid 19 Loan c/o                                        Contingent
          U.S. Small Business Administration                           Unliquidated
          P.O. Box 3918                                                Disputed
          Portland, OR 97208-3918
                                                                    Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.24      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
          Schuler Security, Inc.                                       Contingent
          133 S. Shore Road                                            Unliquidated
          Marmora, NJ 08223                                            Disputed
          Date(s) debt was incurred
                                                                    Basis for the claim:
          Last 4 digits of account number
                                                                    Is the claim subject to offset?     No       Yes

3.25      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
          Snap On Tools                                                Contingent
          c/o Steven Wolf                                              Unliquidated
          2310 S. Shore Drive                                          Disputed
          Williamstown, NJ 08094
                                                                    Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.26      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
          Technology Insurance Company                                 Contingent
          59 Maiden Lane                                               Unliquidated
          New York, NY 10038                                           Disputed
          Date(s) debt was incurred
                                                                    Basis for the claim:
          Last 4 digits of account number
                                                                    Is the claim subject to offset?     No       Yes

3.27      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
          UFG Insurance                                                Contingent
          118 Second Avenue SE                                         Unliquidated
          P.O. Box 73909                                               Disputed
          Cedar Rapids, IA 52407-3909
                                                                    Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.28      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
          Virtua Health
          Patient Accounting                                           Contingent
          2000 Crawford Place                                          Unliquidated
          Suite 100                                                    Disputed
          Mount Laurel, NJ 08054
                                                                    Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Part 3:      List Others to Be Notified About Unsecured Claims


Official Form 206 E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 5 of 6
           Case 22-18808-JNP                      Doc 1        Filed 11/06/22 Entered 11/06/22 14:29:31                                          Desc Main
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Debtor      A-One Waste Solutions d/b/a A-One Hauling                                              Case number (if known)
            Name

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                On which line in Part1 or Part 2 is the           Last 4 digits of
                                                                                                  related creditor (if any) listed?                 account number, if
                                                                                                                                                    any
4.1       Eric Speierr Berman, Esquire
          SCHENCK, PRICE, et als                                                                  Line     3.11
          220 Park Avenue
                                                                                                         Not listed. Explain
          P.O. Box 992
          Florham Park, NJ 07932-0991

4.2       Joseph A. Molinaro, L.L.C.
          648 Wyckoff Avenue                                                                      Line     3.13
          Wyckoff, NJ 07481
                                                                                                         Not listed. Explain

4.3       Sklar Law, LLC
          20 Brace Road, Suite 205                                                                Line     3.26
          Cherry Hill, NJ 08034
                                                                                                         Not listed. Explain

4.4       Tucker, Albin & Associates
          11702 N. Collins Road, Suite 100                                                        Line     3.5
          Richardson, TX 75080
                                                                                                         Not listed. Explain


Part 4:     Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                      Total of claim amounts
5a. Total claims from Part 1                                                                         5a.          $                              0.00
5b. Total claims from Part 2                                                                         5b.    +     $                            200.00

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                              5c.          $                             200.00




Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 6 of 6
          Case 22-18808-JNP                   Doc 1       Filed 11/06/22 Entered 11/06/22 14:29:31                                 Desc Main
                                                         Document      Page 21 of 37
Fill in this information to identify the case:

Debtor name       A-One Waste Solutions d/b/a A-One Hauling

United States Bankruptcy Court for the:     DISTRICT OF NEW JERSEY

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.   Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

2.1.       State what the contract or            various equipment
           lease is for and the nature of
           the debtor's interest

               State the term remaining
                                                                                    Atlantic Utility Trailer Sales
           List the contract number of any                                          137 Crown Point Road
                 government contract                                                Thorofare, NJ 08086


2.2.       State what the contract or            various equipment
           lease is for and the nature of
           the debtor's interest

               State the term remaining
                                                                                    Bowman Trailer Leasing
           List the contract number of any                                          10233 Governor Lane Blvd.
                 government contract                                                Williamsport, MD 21795


2.3.       State what the contract or            various equipment
           lease is for and the nature of
           the debtor's interest

               State the term remaining
                                                                                    Gabrielli Truck Leasing, LLC
           List the contract number of any                                          880 S. Oyster Bay Road
                 government contract                                                Hicksville, NY 11801


2.4.       State what the contract or            various equipment
           lease is for and the nature of
           the debtor's interest

               State the term remaining
                                                                                    Hale Trailer Brake & Wheel, Inc.
           List the contract number of any                                          551 Cooper Road
                 government contract                                                West Berlin, NJ 08091




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 2
         Case 22-18808-JNP                 Doc 1    Filed 11/06/22 Entered 11/06/22 14:29:31                  Desc Main
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Debtor 1 A-One Waste Solutions d/b/a A-One Hauling                               Case number (if known)
          First Name         Middle Name           Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.5.      State what the contract or        various equipment
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        NETS Trailer
          List the contract number of any                               1810 River Road
                government contract                                     Burlington, NJ 08016




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                Page 2 of 2
         Case 22-18808-JNP                  Doc 1      Filed 11/06/22 Entered 11/06/22 14:29:31                               Desc Main
                                                      Document      Page 23 of 37
Fill in this information to identify the case:

Debtor name      A-One Waste Solutions d/b/a A-One Hauling

United States Bankruptcy Court for the:   DISTRICT OF NEW JERSEY

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:

   2.1    James B. Burns              107 Sterns Drive                                          Gabrielli Truck                    D
                                      Somers Point, NJ 08244                                    Leasing, LLC                       E/F
                                                                                                                                   G




   2.2    Jeanette D.                                                                           VFSCO                              D
          Burns                                                                                                                    E/F
                                                                                                                                   G




   2.3    Nicolette Burns                                                                       VFSCO                              D
                                                                                                                                   E/F
                                                                                                                                   G




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 1
           Case 22-18808-JNP                 Doc 1       Filed 11/06/22 Entered 11/06/22 14:29:31                                 Desc Main
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Fill in this information to identify the case:

Debtor name         A-One Waste Solutions d/b/a A-One Hauling

United States Bankruptcy Court for the:    DISTRICT OF NEW JERSEY

Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      From the beginning of the fiscal year to filing date:                               Operating a business                                  Unknown
      From 1/01/2022 to Filing Date
                                                                                          Other


      For prior year:                                                                     Operating a business                                  Unknown
      From 1/01/2021 to 12/31/2021
                                                                                          Other


      For year before that:                                                               Operating a business                                  Unknown
      From 1/01/2020 to 12/31/2020
                                                                                          Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.

      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
             Case 22-18808-JNP                Doc 1        Filed 11/06/22 Entered 11/06/22 14:29:31                                  Desc Main
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Debtor       A-One Waste Solutions d/b/a A-One Hauling                                          Case number (if known)



    or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
    may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
    listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
    debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

      Creditor's name and address                      Describe of the Property                                        Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                      Description of the action creditor took                         Date action was                Amount
                                                                                                                       taken

Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

          None.

              Case title                               Nature of case              Court or agency's name and                 Status of case
              Case number                                                          address
      7.1.    John Lattanzi v. A-One Waste             lawsuit                     Superior Court of New                         Pending
              Solutions                                                            Jersey                                        On appeal
              L-001576-20                                                          Camden County
                                                                                                                                 Concluded
                                                                                   101 South 5th Street
                                                                                   Suite 150
                                                                                   Camden, NJ 08103-4001

      7.2.    Technology Insurance                     lawsuit                     Superior Court of New                         Pending
              Company vc. A 1 Solutions,                                           Jersey                                        On appeal
              LLC                                                                  Camden County
                                                                                                                                 Concluded
              CAM-L-001604-21                                                      101 South 5th Street
                                                                                   Suite 150
                                                                                   Camden, NJ 08103-4001

      7.3.    Mainor Erick Ordonez                                                 Supreme Court of New York                     Pending
              806642/2022E                                                                                                       On appeal
                                                                                                                                 Concluded


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None



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Debtor        A-One Waste Solutions d/b/a A-One Hauling                                           Case number (if known)



Part 4:       Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None

              Recipient's name and address             Description of the gifts or contributions                  Dates given                           Value


Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None

      Description of the property lost and             Amount of payments received for the loss                   Dates of loss           Value of property
      how the loss occurred                                                                                                                            lost
                                                       If you have received payments to cover the loss, for
                                                       example, from insurance, government compensation, or
                                                       tort liability, list the total received.

                                                       List unpaid claims on Official Form 106A/B (Schedule
                                                       A/B: Assets – Real and Personal Property).

Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.

               Who was paid or who received              If not money, describe any property transferred               Dates                Total amount or
               the transfer?                                                                                                                         value
               Address
      11.1.    McDowell Law, PC
               46 West Main St.
               Maple Shade, NJ 08052                                                                                   11/4/22                    $2,000.00

               Email or website address


               Who made the payment, if not debtor?
               Nicolette Burns



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

      Name of trust or device                            Describe any property transferred                     Dates transfers              Total amount or
                                                                                                               were made                             value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

              Who received transfer?                   Description of property transferred or                     Date transfer             Total amount or
              Address                                  payments received or debts paid in exchange                was made                           value

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             Who received transfer?                    Description of property transferred or                     Date transfer             Total amount or
             Address                                   payments received or debts paid in exchange                was made                           value
      13.1 James Burns, Jr                             approximately $500,000 in accounts
      .    107 Sterns Drive                            receivable as well as personal property
             Somers Point, NJ 08244                    of the Debtor                                              2021                           Unknown

             Relationship to debtor
             estranged husband


 Part 7:    Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply

               Address                                                                                              Dates of occupancy
                                                                                                                    From-To

Part 8:     Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.


               Facility name and address               Nature of the business operation, including type of services               If debtor provides meals
                                                       the debtor provides                                                        and housing, number of
                                                                                                                                  patients in debtor’s care

Part 9:     Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?


Part 10:    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and           Last 4 digits of            Type of account or          Date account was               Last balance
              Address                                  account number              instrument                  closed, sold,              before closing or
                                                                                                               moved, or                           transfer
                                                                                                               transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this

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Debtor      A-One Waste Solutions d/b/a A-One Hauling                                            Case number (if known)



    case.


         None

      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


         None

      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?


Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None


Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

      Case title                                             Court or agency name and              Nature of the case                          Status of case
      Case number                                            address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

      Site name and address                                  Governmental unit name and                Environmental law, if known             Date of notice
                                                             address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

      Site name and address                                  Governmental unit name and                Environmental law, if known             Date of notice
                                                             address

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Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None

   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26a.1.        Mark Cherry, CPA
                    385 Kings Highway North
                    Cherry Hill, NJ 08034

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None

      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

             None

      Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                  Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                     or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                    Address                                             Position and nature of any                    % of interest, if
                                                                                                  interest                                      any
      Nicolette Burns                         2 Callison Lane                                     sole owner                                    100
                                              Voorhees, NJ 08043



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?



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           No
           Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

             Name and address of recipient             Amount of money or description and value of               Dates              Reason for
                                                       property                                                                     providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

   Name of the parent corporation                                                                      Employer Identification number of the parent
                                                                                                       corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

   Name of the pension fund                                                                            Employer Identification number of the pension
                                                                                                       fund

Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         November 6, 2022

/s/ Nicolette Burns                                             Nicolette Burns
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




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B2030 (Form 2030) (12/15)
                                                        United States Bankruptcy Court
                                                                     District of New Jersey
 In re       A-One Waste Solutions d/b/a A-One Hauling                                                        Case No.
                                                                              Debtor(s)                       Chapter       7

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
     compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
     be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                       0.00
             Prior to the filing of this statement I have received                                        $                       0.00
             Balance Due                                                                                  $                       0.00

2.   The source of the compensation paid to me was:

                  Debtor             Other (specify):

3.   The source of compensation to be paid to me is:

                  Debtor             Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. [Other provisions as needed]
             Services included under Chapter 7 Fee Agremeent. Available on request.

6.   By agreement with the debtor(s), the above-disclosed fee does not include the following service:
             Services not included under Chapter 7 Fee Agreement. Available on request.
                                                                       CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

     November 6, 2022                                                         /s/ Ellen M. McDowell, Esq.
     Date                                                                     Ellen M. McDowell, Esq.
                                                                              Signature of Attorney
                                                                              McDowell Law, PC
                                                                              46 West Main St.
                                                                              Maple Shade, NJ 08052
                                                                              856-482-5544 Fax: 856-482-5511
                                                                              emcdowell@mcdowelllegal.com
                                                                              Name of law firm
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                                               United States Bankruptcy Court
                                                          District of New Jersey
 In re   A-One Waste Solutions d/b/a A-One Hauling                                                Case No.
                                                                     Debtor(s)                    Chapter      7




                                   VERIFICATION OF CREDITOR MATRIX


I, the of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to the best

of my knowledge.




Date:     November 6, 2022                               /s/ Nicolette Burns
                                                         Nicolette Burns/
                                                         Signer/Title
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                        Ally Financial
                        Attn: Bankruptcy
                        PO Box 130424
                        Roseville, MN 55113-0004


                        American Express



                        Atlantic Investigations, LLC
                        583 13th Street
                        Hammonton, NJ 08037


                        Atlantic Utility Trailer Sales
                        137 Crown Point Road
                        Thorofare, NJ 08086


                        Bergey's Commercial Tire
                        7460 N. Crescent Blvd.
                        Pennsauken, NJ 08110


                        Bowman Trailer Leasing
                        10233 Governor Lane Blvd.
                        Williamsport, MD 21795


                        CINTAS



                        CrownPoint d/b/a
                        Joe & Ron's Truck Stop
                        1740 Crown Point Road
                        West Deptford, NJ 08086


                        DRPA
                        One Port Cernter
                        2 Riverside Drive
                        P.O. Box 1949
                        Camden, NJ 08101


                        Eric Speierr Berman, Esquire
                        SCHENCK, PRICE, et als
                        220 Park Avenue
                        P.O. Box 992
                        Florham Park, NJ 07932-0991
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                    EZPass
                    Violations Processing Center
                    P.O. Box 4971
                    Trenton, NJ 08650


                    Fulton Bank Visa
                    201 North Route 73
                    West Berlin, NJ 08091


                    Gabrielli Truck Leasing, LLC
                    880 S. Oyster Bay Road
                    Hicksville, NY 11801


                    Graphics Arts Mutual Insurance Co
                    c/o Morgan, Bornstein & Morgan
                    1236 Brace Road, Suite K
                    Cherry Hill, NJ 08034


                    Hale Trailer Brake & Wheel, Inc.
                    551 Cooper Road
                    West Berlin, NJ 08091


                    IntelliShift
                    152 Veterans Memorial Highway
                    Commack, NY 11725


                    Internal Revenue Service
                    Centralized Insolvency Operation
                    PO Box 7346
                    Philadelphia, PA 19101


                    James B. Burns
                    107 Sterns Drive
                    Somers Point, NJ 08244


                    Jeanette D. Burns



                    John Lattanzi c/o
                    Michael Dunn, Esquire
                    2 Executive Campus, #402
                    Cherry Hill, NJ 08002
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                    Joseph A. Molinaro, L.L.C.
                    648 Wyckoff Avenue
                    Wyckoff, NJ 07481


                    Kubota Tractor Corp
                    55 Route 70
                    Marlton, NJ 08053


                    Mainor Erick Ordonez



                    Mark Cherry, CPA
                    385 Kings Highway North
                    Cherry Hill, NJ 08034


                    NETS Trailer Leasing
                    1810 River Road
                    Burlington, NJ 08016


                    Nicolette Burns



                    Port Kearny Security
                    61 Hackensack Avenue
                    Kearny, NJ 07032


                    REIT Lubricants
                    899 Mearns Road
                    Warminster, PA 18974


                    Safety Kleen
                    123 Red Lion Road
                    Vincentown, NJ 08088


                    SBA Covid 19 Loan c/o
                    U.S. Small Business Administration
                    P.O. Box 3918
                    Portland, OR 97208-3918


                    Schuler Security, Inc.
                    133 S. Shore Road
                    Marmora, NJ 08223
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                    Sklar Law, LLC
                    20 Brace Road, Suite 205
                    Cherry Hill, NJ 08034


                    Snap On Tools
                    c/o Steven Wolf
                    2310 S. Shore Drive
                    Williamstown, NJ 08094


                    State of New Jersey
                    PO Box 245
                    Trenton, NJ 08695


                    Technology Insurance Company
                    59 Maiden Lane
                    New York, NY 10038


                    Tucker, Albin & Associates
                    11702 N. Collins Road, Suite 100
                    Richardson, TX 75080


                    UFG Insurance
                    118 Second Avenue SE
                    P.O. Box 73909
                    Cedar Rapids, IA 52407-3909


                    VFSCO
                    7025 Albert Pick Road, Suite 105
                    Greensboro, NC 27409


                    Virtua Health
                    Patient Accounting
                    2000 Crawford Place
                    Suite 100
                    Mount Laurel, NJ 08054
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                                          United States Bankruptcy Court
                                                   District of New Jersey
 In re   A-One Waste Solutions d/b/a A-One Hauling                                     Case No.
                                                              Debtor(s)                Chapter     7




                             CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for A-One Waste Solutions d/b/a A-One Hauling in the above captioned action, certifies
that the following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s)
10% or more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP
7007.1:



  None [Check if applicable]




November 6, 2022                                 /s/ Ellen M. McDowell, Esq.
Date                                             Ellen M. McDowell, Esq.
                                                 Signature of Attorney or Litigant
                                                 Counsel for A-One Waste Solutions d/b/a A-One Hauling
                                                 McDowell Law, PC
                                                 46 West Main St.
                                                 Maple Shade, NJ 08052
                                                 856-482-5544 Fax:856-482-5511
                                                 emcdowell@mcdowelllegal.com
